            Case 3:24-cv-08154-DJH Document 76 Filed 10/10/24 Page 1 of 3




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                             UNITED STATES DISTRICT COURT
12                            FOR THE DISTRICT OF ARIZONA
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14
      Hualapai Indian Tribe of the Hualapai Indian       Case No. 3:24-cv-08154-DJH
      Reservation, Arizona,
15                                                       STIPULATED MOTION FOR
                Plaintiff,                               STAY OF FEDERAL
16
                                                         DEFENDANTS’ DEADLINE TO
17    vs.                                                RESPOND TO COMPLAINT
18
      Debra Haaland, in her official capacity as the
19    United States Secretary of the Interior, et al.,
20
                Federal Defendants
21
      and
22
23    Arizona Lithium, Ltd.,
24              Intervenor Defendant.
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          Case 3:24-cv-08154-DJH Document 76 Filed 10/10/24 Page 2 of 3




 1          Federal Defendants hereby respectfully move to stay their deadline for responding
 2   to the Complaint, ECF No. 1, and for an order requiring the parties to meet and confer
 3   regarding an appropriate response deadline as part of their case management discussions
 4   following the Court’s order on the pending motion for preliminary injunction. Good
 5   cause exists for the requested stay because allowing the parties to meet and confer
 6   regarding Federal Defendants’ response deadline after the Court rules on the pending
 7   motion for preliminary injunction will increase efficiency.
 8          Federal Defendants have discussed this matter with counsel for Plaintiff Hualapai
 9   Indian Tribe and Intervenor-Defendant Arizona Lithium, Ltd., and the parties stipulate to
10   the requested relief.
11
12          Respectfully submitted this 10th day of October, 2024.
13
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          Case 3:24-cv-08154-DJH Document 76 Filed 10/10/24 Page 3 of 3




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